               Case 16-10616-SLM                          Doc 18       Filed 02/16/16 Entered 02/16/16 15:40:46                                          Desc Main
                                                                       Document     Page 1 of 3

 Fill in this information to identify the case:
 Debtor name United Business Freight Forwarders Limited Liability
                    Company
 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY                                                                                   X Check if this is an

 Case number (if known):                16-10616                                                                                                      amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Angel Alvarez                                                                                                                                                              $1,749.99
 6918 Cannon way
 Houston, TX 77086
 Anterio Begelton                                                                                                                                                           $2,033.08
 311 North Vista Dr. #
 1506
 Houston, TX 77073
 Arshad Farooq                                                                                                                                                              $2,693.46
 4275 Pleasant Run
 Rd.
 Apt# 136
 Irving, TX 75038
 Cory Trahan                                                                                                                                                                $2,034.30
 13206 Beechdale Ct.
 Houston, TX 77014
 Daniel Hoecker                                                                                                                                                             $2,508.00
 640 SE Midway
 Church Rd.
 Lee, FL 32059
 DeCedric Lewis                                                                                                                                                             $2,063.54
 16539 Sperry
 Garden Dr
 Houston, TX 77095
 Eric Lopez                                                                                                                                                                 $2,290.09
 5110 Azalea Trace
 Dr.
 Houston, TX 77066
 Gregory Brown                                                                                                                                                              $2,292.36
 11722 Mill Valley Rd.
 Houston, TX 77048
 Jarvis Livings                                                                                                                                                             $2,098.92
 1415 Greens Pwy
 Apt# 31
 Houston, TX 77067




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 Debtor    United Business Freight Forwarders Limited Liability                                               Case number (if known)         16-10616
           Company
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Neville Williams                                                                                                                                                           $2,593.50
 232 Largo Vista
 drive
 Oakland, FL 34787
 Nicholas Harrilal                                                                                                                                                          $1,997.40
 9702 Suttons
 Meadow Ct.
 Houston, TX 77086
 Odell Jackson                                                                                                                                                              $1,773.29
 3806 N Beltline
 Road
 Irving, TX 75038
 Omar Shaikh                                                                                                                                                                $2,018.83
 2414 Prides
 Crossing Ln
 Houston, TX 77067
 Pedro Quintanilla                                                                                                                                                          $3,122.61
 943 White dove Dr.
 Arlington, TX 76017
 PNC BANK,                                                       Guaranty               Contingent                                                                    $1,757,185.93
 NATIONAL
 ASSOCIATION
 COMMERCIAL
 SEGMENT - BBL
 TWO TOWER
 CENTER
 BOULEVARD
 EAST BRUNSWICK,
 NJ 08816
 Reyas Alli                                                                                                                                                                 $2,000.00
 2505 Thompson Cir
 Apt# 223
 Arlington, TX 76006
 Ryan Haripal                                                                                                                                                               $2,149.99
 5049 Shale Ridge
 Trail
 Orlando, FL 32818
 Sohan Ramdayal                                                                                                                                                             $2,249.99
 2520 Thompson
 Circle
 Apt# 353
 Arlington, TX 76006
 Taft Holdings Inc.                                              Trade Payables                                                                                           $17,653.08
 Attn: Straubcos,
 LLC, Paul
 Straubinger
 1737 South Orange
 Avenue
 Orlando, FL 32806




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           Company
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
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 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Vishwan Makie                                                                                                                                                              $2,499.90
 135 East Main St.
 Apt.G2
 Westborough, MA
 01581




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